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                            IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF MAINE



BRITTANY IRISH, individually and as                   )
Personal Representative of the Estate of              )
KYLE HEWITT, Deceased, and KIMBERLY                   )
IRISH                                                 )
                                                      )
               Plaintiffs                             )
                                                      )
V.                                                    )      Civil Action No.
                                                      )
STATE OF MAINE, STATE POLICE OF                       )      COMPLAINT
THE STATE OF MAINE and JOHN AND/                      )      JURY TRIAL DEMAND
OR JANE DOES, STATE POLICE                            )
OFFICERS 1-10                                         )
                                                      )
               Defendants                             )




       Plaintiffs Brittany Irish, Individually and as Personal Representative of the Estate of

Kyle Hewitt, Deceased, and Kimberly Irish, by and through their undersigned attorneys, David

J. Van Dyke Esq., Lynch & Van Dyke P.A., Lewiston, Maine, hereby files suit against the

above-captioned Defendants, and in support thereof, state as follows.




                                  SUMMARY OF CLAIMS

       This is a civil rights action brought by victims of a July, 2015 violent sexual assault and

shooting rampage in Aroostook and Penobscot Counties, Maine -- including the Estate of a

decedent killed on the night of the rampage -- involving Anthony Lord, against the State of

Maine, State Police of the State of Maine and certain known and unknown State Police officers.
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Plaintiffs maintain that their losses and injuries arise out of failures by Defendants to protect

them from dangers which Defendants themselves created and in violation of a “special duty”

which existed between Plaintiffs and Defendants, consistent with United States Supreme Court

and First Circuit precedent.



                               JURISDICTION AND VENUE

1.    This Court has jurisdiction over this action against the Defendants pursuant to 42 U.S.C.

      §1983 as well as 28 U.S.C. § 1331. This Court has jurisdiction over the pendant state law

      tort claims pursuant to 28 U.S.C. §1367(a).

2.    Venue is properly vested in this Court because Plaintiffs and the Defendants are residents

      of this District and the acts complained of occurred within the jurisdiction of this District

      (specifically, Penobscot County and Aroostook County, Maine).



                                           PARTIES

3.    Plaintiff Brittany Irish is an individual and a resident of Bangor, Penobscot County,

      Maine, and the duly-appointed Personal Representative of the Estate of Kyle Hewitt,

      Deceased. At all times relevant hereto, Plaintiff Brittany Irish resided within this District.

      Prior to his death, as detailed below, Kyle Hewitt resided within this District. The Estate of

      Kyle Hewitt, Deceased, is administered through the Probate Court of Penobscot County,

      Maine, within this District.

4.    Plaintiff Kimberly Irish is an individual and a resident of Benedicta, Aroostook County,

      Maine. Kimberly Irish is the mother of Brittany Irish. At all times relevant hereto, Plaintiff

      Kimberly Irish resided within this District.




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5.    Defendant State of Maine at all times relevant maintained a political presence within this

      District.

6.    Defendant State Police of the State of Maine (Maine State Police) is a instrumentality of the

      State of Maine which, at all times relevant maintained a political presence within this District.

7.    Defendants     John     and/or    Jane    Does      State   Police     Officers    (1-10)       are

      individuals who were, at all relevant times hereto, officers of the Maine State Police,

      operating in the course and scope of their employment, and under the color and guise of

      the laws of the State of Maine. The specific identity of these defendants is presently

      unknown to Plaintiff, but upon positive identification will be properly served with

      process, and their individual names will be added to this Complaint in accordance with the

      applicable federal rules. These Defendants will presently be referred to as John and/or Jane

      Does State Police Officers 1-10, all of whom were either physically present and/or involved

      directly in the incidents described in this Complaint, or were involved in same in a

      supervisory or oversight capacity.



                                 FACTUAL BACKGROUND

8.    Plaintiff incorporates by reference all of the above paragraphs as if set forth fully herein.

9.    Brittany Irish met Anthony Lord (“Lord”) approximately four years ago through a

      close mutual friend in Sherman, Maine.

10.   Upon information and belief, at the time of such meeting, Lord was a registered sex

      offender.

11.   In 2011, insofar as Brittany Irish then had a son, J., Brittany Irish obtained a protection

      from abuse order against Lord individually and o/b/o her son. The PFA stood for two




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      years and expired in 2013.

12.   Commencing in 2013, Kyle Hewitt and Brittany Irish resided together, with J.

13.   Later in 2013, Brittany Irish and Lord reconciled, and Brittany Irish moved to

      Millinocket with Lord and other parties.

14.   Commencing in approximately May 2013, Kyle Hewitt and Brittany Irish, together

      with J., resided in Old Town, Maine.

15.   Commencing in approximately March 2014, Kyle Hewitt and Brittany Irish, together

      with J. and the couple’s newborn son B. resided in Bangor, Maine.

16.   In March 2015, during a period of separation from Kyle Hewitt, Brittany Irish re-

      connected with Lord and remained in a friendship relationship with Lord for a number

      of weeks. However, by late April or early May, 2015, after Brittany Irish had suffered

      certain medical setbacks, she began to be threatened and harassed by Lord – including

      through Lord’s conveyance of explicitly sexual communications --, who desired that

      the parties’ relationship become intimate.

17.   Brittany Irish immediately advised the Bangor Police Department of the foregoing.

      The Bangor Police Department recommended that Brittany Irish obtain a further PFA

      from Lord. Additionally, upon information and belief, the Bangor Police Department

      advised Lord to stay away from Brittany Irish.

18.   On or about July 6, 2015, as Brittany Irish made plans to obtain the recommended

      further PFA against Lord, Kyle Hewitt moved back into Brittany Irish’s residence.

19.   For a brief period of time, Lord appeared to stabilize and the threats and harassment

      ceased.

20.   On or about July 14, 2015, Brittany Irish met Lord at a local IGA food store in




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      Bangor, at his request, for the purpose of her giving to him photographs which she had

      taken at Lord’s son’s funeral. Lord forced Brittany Irish into his car and drove into

      rural Aroostook County the countryside, where he repeatedly sexually assaulted her.

      In addition to multiple sexual assaults, Lord strangled Brittany Irish with her seatbelt

      and threatened to kill her, including among things, “[to] cut [her] from ear to ear”.

      Lord specifically threatened to kill Brittany Irish if she reported the sexual assaults.

21.   To Brittany Irish, Lord appeared sexually obsessed with her.            Lord indicated to

      Brittany Irish that he was suicidal.

22.   On the next day, on or about Wednesday July 15, 2015, Brittany Irish went to her local

      hospital and submitted to a rape kit evaluation. Later that day, she contacted the

      Bangor Police Department and advised the BPD that she has been sexually assaulted

      by Lord. The Bangor Police Department referred her to the Maine State Police insofar

      as the abduction and sexual assaults occurred in two separate counties (Aroostook and

      Penobscot).    The Maine State Police asked Brittany Irish to drop off a written

      statement the next day.

23.   That day, Brittany Irish went home and put her clothes which had been involved in the

      Lord assault into a bag for the Maine State Police.

24.   On the next day, on or about Thursday July 16, 2015, Lord contacted Brittany Irish

      and asked her to meet with him in Howland so that the two of them could “talk about

      what had happened”. Brittany Irish advised the State Police of the conversation.

      Brittany Irish asked that she be permitted to meet with Lord because she felt that she

      could talk to him, she could elicit a confession from him, she could wear a wire or be

      otherwise monitored and, knowing him as she did, she could keep him stable and




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      herself safe. Brittany Irish asked that someone from the Maine State Police be in her

      proximity to ensure her safety in the event that she was wrong.

25.   The State Police refused Ms. Irish’s request. The State Police advised Ms. Irish that

      “that’s not the way we do it”. Rather, the State Police indicated that they would be

      calling Lord to advise him that Brittany Irish had made claims of sexual assault

      against him and would solicit him to come to the local State Police barracks to give his

      side of the story.

26.   Brittany Irish advised the State Police officers that she was afraid that that would

      incite Lord to terrible violence and that she would not thereupon be safe.

27.   Shortly thereafter, representatives of the State Police (John and/or Jane Does 1-10)

      contacted Brittany Irish and told her that they had left a voice message for Lord telling

      him that Brittany Irish had made a complaint against him and asking him to come to

      the local State Police barracks.

28.   On July 16, 2015, approximately two hours later, Brittany Irish received a telephone

      call from her father (her mother Kimberly Irish then suffering from multiple sclerosis),

      that the family barn in Benedicta, Maine, was on fire. Brittany Irish and her father

      recognized that the blaze was a set fire insofar as there had been no power to the barn

      for the preceding 18 years and nothing flammable was stored in the barn.

29.   Brittany Irish immediately suspected that Lord had set the fire.

30.   Upon receiving the news of the family barn being on fire, Kyle Hewitt and Brittany

      Irish departed from Bangor and headed toward Brittany Irish’s parent’s home in

      Benedicta. Brittany Irish contacted the Maine State Police (John and/or Jane Does 1-

      10) to report the circumstances.




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31.   John Does 1 and 2 State Troopers met with Brittany Irish in Benedicta.

32.   While Brittany Irish was meeting with John Does 1 and 2 State Troopers, Brittany

      Irish was interrupted by a telephone call from her brother’s best friend, who stated that

      he was at a bar talking with a very close friend of Lord’s, who had advised him that

      Lord had received a voice mail from the State Police, had become immediately

      incensed and agitated and had indicated that “someone was going to die tonight”.

      According to the telephone call, Lord had expressly stated that he was going to kill

      someone that night due to the State Police call.

33.   In light of the content of the abovesaid telephone call, Brittany Irish asked John Does

      1 and 2 State Troopers to have a State Police trooper sent to protect her and her

      children -- who were at another premises elsewhere in Aroostook County at the time --

      overnight. John Does 1 and 2 State Troopers stated to Brittany Irish that they could

      not spare the manpower to protect anyone but would, rather, “keep an eye on the

      situation”.

34.   At that time, Kimberly Irish, Brittany’s mother, asked John Does 1 and 2 State

      Troopers to at least have a State Police car parked in front of their Benedicta house

      overnight because she felt that that ruse, at least, would keep Lord away. John Does 1

      and 2 State Troopers stated to Kimberly Irish that they could not even spare a car.

35.   Upon information and belief, later that evening, several State Police cars were

      observed approximately eleven miles away “dumpster diving”, apparently looking for

      accelerant from the Benedicta fire.

36.   Late that evening, July 16, 2015, Brittany Irish telephoned John Does 1 and 2 State

      Troopers to inquire, again, why no State Police officer or car was stationed at the




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      home when it was obvious that Lord was incensed by the State Police call which he

      had received advising him of Brittany Irish’s claim of rape and which had inspired his

      death threats.

37.   Shortly thereafter, in the early morning hours of July 17, 2015, while Kimberly Irish,

      Kyle Hewitt and Brittany Irish were in the Irish home in Benedicta, Kyle Hewitt

      asleep on a sofa in the living room and Brittany Irish asleep on a recliner in the living

      room, Lord shot his way into the Irish home, shot and killed Kyle Hewitt, shot and

      grievously wounded Kimberly Irish and again abducted Brittany Irish.

38.   With Brittany Irish as a hostage in his vehicle, Lord proceeded to drive southerly on

      various roads, engaged in a shoot-out which left another individual dead, and

      ultimately was apprehended.



                              COUNT I
           FAILURE TO PROTECT/VIOLATION OF “SPECIAL DUTY”/
                      VIOLATION OF CIVIL RIGHTS


39.   Plaintiff incorporates by reference all of the above paragraphs as if set forth fully

      herein.

40.   As detailed above, by their actions and omissions of July 16 and 17, 2015, Defendants

      State of Maine, State Police of the State of Maine and John Does 1 and 10 State

      Troopers affirmatively acted to increase the threat which existed to Plaintiffs beyond

      that which otherwise existed including, without limitation upon the generality of the

      foregoing, by calling Lord to advise him of Brittany Irish’s report of sexual assault, by

      refusing and/or failing to recognize the threat to Brittany Irish and others which was

      created by such call and by refusing and/or failing to provide protection to Brittany




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      Irish and others in light of the threat posed by Lord.

41.   The actions of Defendants in their failure to protect Plaintiffs after their actions

      elevated the threat and Defendants were asked to provide reasonable protection shocks

      the conscience.

42.   Whereas the State’s failure to protect an individual against private violence does

      not ordinarily constitute a constitutional violation, that general principle is not

      absolute and an affirmative, constitutional duty to protect arises where the State,

      as here, creates the danger to an individual.

43.   Defendants’ failure(s) to protect Plaintiffs in light of the foregoing represents a

      constitutional violation of Plaintiffs’ civil rights.

44.   Alternatively, the Defendants violated Plaintiffs’ civil rights insofar as they were,

      at all times relevant, subject to a “special duty” owed to Plaintiffs including, in

      among other respects, Defendants made an implicit and/or express promise to

      protect Plaintiffs, Plaintiffs relied upon such promise, Defendants failed to fulfill

      such promise and Plaintiffs were injured thereby, such unfulfilled promise

      creating a special duty in exception to the prevailing general duty principle

      described in Paragraph 42, above.

             WHEREFORE, Plaintiffs demands judgment against Defendants jointly and

      severally, for compensatory damages, attorneys fees and costs far in excess of the minimum

      jurisdictional threshold of this Court and for such other relief as this Court deems just and

      for a trial by jury on all issues so triable as a matter of right.




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                                  COUNT II
                 FAILURE TO TRAIN AND SUPERVISE PERSONNEL
                         VIOLATION OF CIVIL RIGHTS


 45.   Plaintiff incorporates by reference all of the above paragraphs as if set forth fully herein.

 46.   Certain of John and/or Jane Does 1-10 Maine State Police officers are training/supervising

       officers responsible for the training, oversight and supervision of those John and/or Jane

       Does 1-10 State Police officers who were directly involved in the events of July 16, 17,

       2015 as described above.

 47.   Plaintiffs had fundamental and well-established rights to be protected against private

       violence where the State, as here, created the danger.

 48.   The unlawful failure to protect Plaintiffs, in light of the circumstances in which it arose,

       violated Plaintiffs’ substantive rights guaranteed by the United State Constitution.

 49.   The violations of Plaintiffs’ aforesaid substantive constitutional rights, and the resulting

       catastrophic injuries and death (of Kyle Hewitt), were caused in whole or part by the

       John and/or Jane Does (1-10) State Police officers, to the extent that they were training

       and/or supervising officers, failure(s) to properly supervise, educate, instruct, train and/or

       control their personnel in general.

 50.   The above-referenced failures of John and/or Jane Does (1-10) State Police officers, to

       the extent that they were training and/or supervising officers, directly and proximately led

       to the suffering of Plaintiffs.

              WHEREFORE, Plaintiffs demand judgment against Defendants, including

       specifically John and/or Jane Does (1-10) State Police officers, to the extent that they

       were training and/or supervising officers, jointly and severally, for compensatory damages,




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       attorneys fees and costs far in excess of the minimum jurisdictional threshold of this Court

       and for such other relief as this Court deems just and for a trial by jury on all issues so

       triable as a matter of right.



                                 COUNT III
                 RESPONDEAT SUPERIOR AND VICARIOUS LIABILITY


 51.   Plaintiffs incorporate by reference the above referenced paragraphs as if set forth fully

       herein.

 52.   In committing the actions and/or inactions described above and herein, John and/or Jane Does

       (1-10) State Police officers were acting, at all relevant times, within the course and scope

       of their employment with the Maine State Police.

 53.   The said Defendants State of Maine and State Police of the State of Maine are liable as

       principals for all violations of civil rights, torts or other wrongs committed by their respective

       agents and/or employees upon Plaintiffs, or any of them.

              WHEREFORE, Plaintiffs demands judgment against Defendants State of Maine

       and State Police of the State of Maine jointly and severally, for compensatory damages, for

       attorneys fees and for costs far in excess of the minimum jurisdictional threshold of this

       Court and for such other relief as this Court deems just and for a trial by jury on all issues

       so triable as a matter of right.




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      Dated at Lewiston, Maine this 10th day of December, 2015.



                                          /s/David Van Dyke, Esq.
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